Case 1:10-cv-02309-WDQ Document 11 Filed 11/17/10 Page 1 of 1
Case 1:10-cv-02309-WDQ Document 10 Filed 11/16/10 Page 1 oft

lN '.l`HE UNITEI) STATES DISTRICT C()URT

1333 ii'i"f"r’ § '1 ?YF‘()"k THE DISTRICT OF MARYLAND
BALTIMQRE DIVlSlON
JAMES T. BUECHLER, *
~k
Plaimifj,‘
‘k
v. CivilAction No.: l:l()-cv-2309
‘k
NARESH KUMAR, doing business as *
MEL’S LIQUORS,
‘k
Defendant.
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Plaintiff dismisses all his claims against Defendant with prejudice Each party

Shall bear its Own costs and attorneys’ fees.

Dated: November 16, 2010 Respcctfully Submitted,

/s/ E. David H()skz`ns
E. David Hoskins, Bar No. 06705
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